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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:                                                      Case No.: 21-16133-LMI

OCEANROAD GLOBAL SERVICES LIMITED,                          Chapter 15
HOLDWAVE TRADING LIMITED,

      Debtors in a Foreign Proceeding.                      (Jointly Administered)
_________________________________/

          AMENDED NOTICE OF SUBPOENA FOR RULE 2004 EXAMINATION
                            DOCUMENTS ONLY
                       (Amended as to Title & Date Only)

         Nicholas Wood and Colin Diss the joint liquidators (“Foreign Representatives”), by the

undersigned attorney, request that Frost & Sullivan Holding Inc., on Tuesday, March 29, 2022

no later than 5:00 p.m. at Sequor Law, attn.: Carolina Z. Goncalves, 1111 Brickell Avenue, Suite

1250, Miami, FL 33131, cgoncalves@sequorlaw.com; jleon@sequorlaw.com (if produced by mail

or electronically or by hand delivery), produce all of the documents as detailed in the Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Bankruptcy

Case Examination included with this Notice, attached hereto and incorporated herein.

         This request for production of documents is pursuant to Rule 2004, Federal Rules of

Bankruptcy Procedure, and Local Rule 2004-1, Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of Florida. The scope of the request is as described in

Bankruptcy Rule 2004. Pursuant to Local Rule 2004-1 no order shall be necessary.

         Dated: March 8, 2022
                                                     Respectfully submitted,




                                        SEQUOR LAW, P.A.
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                                                         SEQUOR LAW, P.A.
                                                         1111 Brickell Avenue, Suite 1250
                                                         Miami, Florida 33131
                                                         nmiller@sequorlaw.com
                                                         cgoncalves@sequorlaw.com
                                                         Telephone:    (305) 372-8282
                                                         Facsimile:    (305) 372-8202

                                                By:      /s/ Carolina Z. Goncalves
                                                         Nyana Abreu Miller, Esq.
                                                         Fla. Bar No.: 92903
                                                         Carolina Z. Goncalves, Esq.
                                                         Fla. Bar No.: 124570

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via electronic

filing using the CM/ECF system with the Clerk of the Court which sent e-mail notification of such

filing to all CM/ECF participants in this case and via regular US mail to all participants who are

not on the list to receive e-mail notice/service for this case as indicated on the service list on March

8, 2022.

                                                By:      /s/ Carolina Z. Goncalves
                                                         Carolina Z. Goncalves, Esq.


                                          SERVICE LIST

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

       Edward H. Davis, Jr., Esq., on behalf of Debtor Holdwave Trading Limited and Debtor
        Oceanroad Global Services Limited
        edavis@sequorlaw.com; msanchez@sequorlaw.com
       Gregory S Grossman, Esq., on behalf of Debtor Holdwave Trading Limited and Debtor
        Oceanroad Global Services Limited
        ggrossman@sequorlaw.com; ngonzalez@sequorlaw.com
       Nyana Abreu Miller, Esq., on behalf of Debtor Holdwave Trading Limited and Debtor
        Oceanroad Global Services Limited
        nmiller@sequorlaw.com; msanchez@sequorlaw.com
                                                   2
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     Carolina Z. Goncalves, Esq., on behalf of Debtor Holdwave Trading Limited and Debtor
      Oceanroad Global Services Limited
      cgoncalves@sequorlaw.com; msanchez@sequorlaw.com
     Office of the US Trustee
      USTPRegion21.MM.ECF@usdoj.gov
     Eric J Silver, Esq., on behalf of Interested Party PDC Limited
      esilver@stearnsweaver.com; jless@stearnsweaver.com; fsanchez@stearnsweaver.com;
      cgraver@stearnsweaver.com; mfernandez@stearnsweaver.com

Manual Notice List

     (No manual recipients)




                                             3
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                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION
                                               www.flsb.uscourts.gov

In re:                                                           Case No.: 21-16133-LMI

OCEANROAD GLOBAL SERVICES LIMITED,                               Chapter 15
HOLDWAVE TRADING LIMITED,

      Debtors in a Foreign Proceeding.                           (Jointly Administered)
_________________________________/

                              SUBPOENA FOR RULE 2004 EXAMINATION
                                           (Documents Only)
 To:         Frost & Sullivan Holding Inc.
 By Serving: VCORP SERVICES, LLC
             1013 Centre Road, Suite 403-B
             Wilmington, DE 19805

  □ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an
  examination under Rule 2004, Federal Rules of Bankruptcy Procedure and Local Rule 2004-1.
  PLACE: (If not produced electronically)                                       DATE AND TIME
  Veritext Legal Solutions
  300 Delaware Avenue, Suite 815                                                March 29, 2022, no later than 5:00 p.m.
  Wilmington, DE, 19801

  The examination will be recorded by this method: Documents only, no testimony will be taken at this time.
  □
  X Production: You, or your representatives, must also bring with you to the examination the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
  See Schedule I attached hereto.

 The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are attached
Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a subpoena; and
Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not doing so.

 Date: March 8, 2022
                            CLERK OF COURT

                                                                   OR
                            Signature of Clerk or Deputy Clerk           /s/ Carolina Z. Goncalves


The name, address, email address, and telephone number of the attorneys representing Nicholas Wood and Colin Diss (“Foreign Represen
or request this subpoena, are: Nyana Abreu Miller (nmiller@sequorlaw.com;
jleon@sequorlaw.com);Carolina Z. Goncalves (cgoncalves@sequorlaw.com); 1111 Brickell Avenue, Suite 1250, Miami, FL 33131;
(305) 372-8282.
                                    Notice to the person who issues or requests this subpoena
   If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
   inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
   the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                         PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

  I received this subpoena for (name of individual and title, if any):
  on (date)             .


  □ I served the subpoena by delivering a copy to the named person as follows:
                                                   on (date)                             ; or


  □ I returned the subpoena unexecuted because:

  Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
  witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                  .

   My fees are $                for travel and $               for services, for a total of $           .


   I declare under penalty of perjury that this information is true and correct.

   Date:

                                                                                                  Server’s signature


                                                                                                Printed name and title



                                                                                                   Server’s address


  Additional information concerning attempted service, etc.:




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                              Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                          (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

  (c) Place of compliance.                                                                          (ii) disclosing an unretained expert's opinion or information that does
                                                                                              not describe specific occurrences in dispute and results from the expert's
    (1) For a Trial, Hearing, or Deposition. A subpoena may command a                         study that was not requested by a party.
  person to attend a trial, hearing, or deposition only as follows:                               (C) Specifying Conditions as an Alternative. In the circumstances
      (A) within 100 miles of where the person resides, is employed, or                       described in Rule 45(d)(3)(B), the court may, instead of quashing or
  regularly transacts business in person; or                                                  modifying a subpoena, order appearance or production under specified
      (B) within the state where the person resides, is employed, or regularly                conditions if the serving party:
  transacts business in person, if the person                                                        (i) shows a substantial need for the testimony or material that cannot
        (i) is a party or a party’s officer; or                                               be otherwise met without undue hardship; and
        (ii) is commanded to attend a trial and would not incur substantial                          (ii) ensures that the subpoenaed person will be reasonably
  expense.                                                                                    compensated.

    (2) For Other Discovery. A subpoena may command:                                          (e) Duties in Responding to a Subpoena.
      (A) production of documents, or electronically stored information, or
  things at a place within 100 miles of where the person resides, is employed,                  (1) Producing Documents or Electronically Stored Information. These
  or regularly transacts business in person; and                                              procedures apply to producing documents or electronically stored
      (B) inspection of premises, at the premises to be inspected.                            information:
                                                                                                  (A) Documents. A person responding to a subpoena to produce
  (d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                              documents must produce them as they are kept in the ordinary course of
                                                                                              business or must organize and label them to correspond to the categories in
        (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                              the demand.
  attorney responsible for issuing and serving a subpoena must take
                                                                                                  (B) Form for Producing Electronically Stored Information Not
  reasonable steps to avoid imposing undue burden or expense on a person
                                                                                              Specified. If a subpoena does not specify a form for producing
  subject to the subpoena. The court for the district where compliance is
                                                                                              electronically stored information, the person responding must produce it in
  required must enforce this duty and impose an appropriate sanction —
                                                                                              a form or forms in which it is ordinarily maintained or in a reasonably
  which may include lost earnings and reasonable attorney's fees — on a
                                                                                              usable form or forms.
  party or attorney who fails to comply.
                                                                                                  (C) Electronically Stored Information Produced in Only One Form. The
                                                                                              person responding need not produce the same electronically stored
    (2) Command to Produce Materials or Permit Inspection.
                                                                                              information in more than one form.
      (A) Appearance Not Required. A person commanded to produce
                                                                                                  (D) Inaccessible Electronically Stored Information. The person
  documents, electronically stored information, or tangible things, or to
                                                                                              responding need not provide discovery of electronically stored information
  permit the inspection of premises, need not appear in person at the place of
                                                                                              from sources that the person identifies as not reasonably accessible because
  production or inspection unless also commanded to appear for a deposition,
                                                                                              of undue burden or cost. On motion to compel discovery or for a protective
  hearing, or trial.
                                                                                              order, the person responding must show that the information is not
      (B) Objections. A person commanded to produce documents or tangible
                                                                                              reasonably accessible because of undue burden or cost. If that showing is
  things or to permit inspection may serve on the party or attorney designated
                                                                                              made, the court may nonetheless order discovery from such sources if the
  in the subpoena a written objection to inspecting, copying, testing or
                                                                                              requesting party shows good cause, considering the limitations of Rule
  sampling any or all of the materials or to inspecting the premises — or to
                                                                                              26(b)(2)(C). The court may specify conditions for the discovery.
  producing electronically stored information in the form or forms requested.
  The objection must be served before the earlier of the time specified for
                                                                                                 (2) Claiming Privilege or Protection.
  compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                                   (A) Information Withheld. A person withholding subpoenaed
  the following rules apply:
                                                                                              information under a claim that it is privileged or subject to protection as
        (i) At any time, on notice to the commanded person, the serving party
                                                                                              trial-preparation material must:
  may move the court for the district where compliance is required for an
                                                                                                     (i) expressly make the claim; and
  order compelling production or inspection.
                                                                                                     (ii) describe the nature of the withheld documents, communications,
        (ii) These acts may be required only as directed in the order, and the
                                                                                              or tangible things in a manner that, without revealing information itself
  order must protect a person who is neither a party nor a party's officer from
                                                                                              privileged or protected, will enable the parties to assess the claim.
  significant expense resulting from compliance.
                                                                                                   (B) Information Produced. If information produced in response to a
                                                                                              subpoena is subject to a claim of privilege or of protection as trial-
    (3) Quashing or Modifying a Subpoena.
                                                                                              preparation material, the person making the claim may notify any party that
      (A) When Required. On timely motion, the court for the district where
                                                                                              received the information of the claim and the basis for it. After being
  compliance is required must quash or modify a subpoena that:
                                                                                              notified, a party must promptly return, sequester, or destroy the specified
        (i) fails to allow a reasonable time to comply;
                                                                                              information and any copies it has; must not use or disclose the information
        (ii) requires a person to comply beyond the geographical limits
                                                                                              until the claim is resolved; must take reasonable steps to retrieve the
  specified in Rule 45(c);
                                                                                              information if the party disclosed it before being notified; and may
        (iii) requires disclosure of privileged or other protected matter, if no
                                                                                              promptly present the information under seal to the court for the district
  exception or waiver applies; or
                                                                                              where compliance is required for a determination of the claim. The person
        (iv) subjects a person to undue burden.
                                                                                              who produced the information must preserve the information until the claim
      (B) When Permitted. To protect a person subject to or affected by a
                                                                                              is resolved.
  subpoena, the court for the district where compliance is required may, on
  motion, quash or modify the subpoena if it requires:
                                                                                              (g) Contempt. The court for the district where compliance is required – and
        (i) disclosing a trade secret or other confidential research,
                                                                                              also, after a motion is transferred, the issuing court – may hold in contempt
  development, or commercial information; or
                                                                                              a person who, having been served, fails without adequate excuse to obey
                                                                                              the subpoena or an order related to it.
                                                                   For Access to Subpoena Materials
                                                                   Fed. R. Civ. P. 45(a) Committee Note (2013)
         • Parties desiring access to information produced in response to this subpoena will need to follow up with the party serving the subpoena to obtain such access.
        • The party serving the subpoena should make reasonable provisions for prompt access.
        • The court for the district where compliance with the subpoena is required has authority to order notice of receipt of produced materials or access to them.
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                                         SCHEDULE I

                                         DEFINITIONS

       As used in this request, the following words shall have the following meanings:

       1.       “You,” “Your,” or “Frost” refers to the recipient of this subpoena, and, where
applicable, its parent companies, affiliates, or subsidiaries acting in any capacity, including the
California corporation known as Frost & Sullivan.

       2.      “Reports” means any or all of the following:

                   a. “Environmental Impact Analysis – Production of Rough Diamonds”
                      published by you on or about November 2014;

                   b. “The Diamond Growing Greenhouses: Grown Diamonds in the Gems and
                      Jewelry Industry” published by you on or about March 2014;

                   c. “Grown Diamonds – Shaping Future of Diamond Industry” published by
                      you in 2013;

                   d. “Grown Diamonds: Unlocking Future of Diamond Industry by 2050”
                      published by you in December 2014;

                   e. any reports, consumer surveys, or impact analysis/assessments prepared
                      by you at the request of Haytham Obidah (aka Haytham Obeida, Haytham
                      Obeidah, or Haytham Obaidah), Docklands Investment Limited, Amicorp
                      (UK) Limited, Amicorp Singapore Pte Ltd, Amicorp Trustees (Singapore)
                      Limited, Amicorp BVI Limited, Amicorp International Limited, and/or
                      Hansa Mercator Limited; and

                   f. any reports, consumer surveys, or impact analysis/assessments prepared
                      by you for which the paying party was Docklands Investment Limited,
                      Energy One Holdings Limited, Harmony Overseas Management Limited,
                      Mosman Industries Limited, Emerging Growth Fund Ltd, Amicorp
                      Trustees (Singapore) Limited, Asgaard Enterprises Retirement Fund and
                      any of its sub-funds, Global Growth Fund Ltd, New Age Growth Fund
                      Ltd, Kilchoman Trading SA, Nikka Invest & Finance Inc., or Glengoyne
                      Financial Holdings Corp.

        3.     “Communication” means any exchange of words, notes, symbols, ideas, or
thoughts between two or more people by any medium or method, including: hand-written; typed;
e-mail; text message or via other telephone messaging service such as WhatsApp; recorded
audio; voice recording; or any other medium or method capable of recording and electronically
storing a Communication.

        4.     “Document” shall have the same meaning and scope as “documents or
electronically stored information” within the meaning of Federal Rule of Civil Procedure
34(a)(1)(A). For the avoidance of doubt, the term “document” includes a “communication.”

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        5.     “Person” means natural person(s), corporation(s), association(s), partnership(s),
sole proprietorship(s) or public entity(ies).

        6.    “Source of Funds” shall mean the exact account that initiates a payment,
including the name of the account holder, account number, bank name, and bank address or
routing number.

       7.     The terms “and” and “or” shall be construed conjunctively or disjunctively as is
necessary to make the request for production inclusive rather than exclusive.

       8.      The term “any” means “all” and vice versa.

       9.      The term “including” means including but not limited to.

      10.      The singular shall be construed to include the plural, and vice versa, to make the
Request inclusive rather than exclusive.

        11.    “Related to” or “relating to” means constitute, regarding, refer to, reflect,
mention, evidence, concern, pertain to, arise out of, summarize, analyze, or be logically or
factually connected in any way with the matter discussed.

       12.     “Relevant Period” refers to the period of time from January 1, 2011 through
present. Unless otherwise stated, all Requests refer only to the Relevant Period.

                                   GENERAL PROVISIONS

        1.    To the extent applicable to any documents produced in response to this Subpoena,
please provide an affidavit or certification sufficient to identify such documents as records of a
regularly conducted activity of a business, organization, or calling, as described in Federal Rules
of Evidence, Rule 803(6).

         2.      You are requested to produce all documents that are in your possession, custody,
or control, including, but not limited to, documents in the possession, custody or control of your
affiliates, attorneys, consultants, professionals, agents, representatives, employees, subsidiaries,
sister corporations, parent corporations or any other person or entity acting on your behalf. You
have the affirmative duty to contact any third party, including the foregoing, from whom you
have “the legal right to obtain the documents requested upon demand.” Sergeeva v. Tripleton
Int'l Ltd., 834 F.3d 1194, 1201 (11th Cir. 2016) (affirming order that U.S. company produce
documents in the physical possession or custody of a foreign affiliate); SeaRock v. Stripling, 736
F.2d 650, 653–54 (11th Cir. 1984).

        3.     Documents maintained in electronic form must be produced in their native
electronic form with all metadata intact. Data must be produced in the data format in which it is
typically used and maintained. For electronic mail systems using Microsoft Outlook or
LotusNotes, provide all responsive emails and, if applicable, email attachments and any related
documents, in their native file format (i.e., .pst for outlook personal folder, .nsf for LotusNotes).
For all other email systems provide all responsive emails and if applicable, email attachments
and any related documents in TIFF format.


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         4.      To the extent any electronically stored information, if produced in its native
format, would be difficult or impossible to review because it would require proprietary or legacy
software, said electronically stored information should be provided in Image (near-paper) format
(i.e., .TIFF, or .PDF files) with a corresponding load file utilizing valid field delimiters and text
qualifiers containing metadata and optical character recognition (OCR) extracted text for said
electronically stored information named with the document identification (DocID) of its
corresponding file.

         5.    To the extent any electronically stored information is a password protected native
file, the password for the native file should be provided as metadata in a text file named with the
document identification (DocID) of the corresponding password protected native file.

       6.      In the event you claim that any document requested is unavailable, lost,
misplaced, or destroyed, state the following:

               a.      the date you believe such document became unavailable, lost, misplaced,
                       or destroyed; and

               b.      the reason why such document became misplaced, lost, or destroyed.

        7.      In the event that you seek to withhold any document on the basis that it is covered
by privilege, please provide the following information:

               a.      The name of each author, writer, sender, or initiator of such document or
                       thing, if any;

               b.      The name of each recipient, addressee or party for whom such document
                       or thing was intended, if any;

               c.      The date of such document, if any, or an estimate thereof so indicated if no
                       date appears on the document;

               d.      The general subject matter as described in such document, or, if no such
                       description appears, then such other description sufficient to identify said
                       document; and

               e.      The claimed grounds for withholding the document, including, but not
                       limited to the nature of any claimed privilege and grounds in support
                       thereof.

        8.      For each request, or part thereof, which is not fully responded to pursuant to a
privilege, the nature of the privilege and grounds in support thereof should be fully stated, and
that portion of the document not claimed to be privileged shall be produced.


      9.      If production of documents or other items required by this Subpoena would be, in
whole or in part, unduly burdensome, or if the response to an individual request for production

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may be aided by clarification of the request, contact the issuer of this Subpoena, to discuss
possible amendments or modifications of the Request within five (5) days of receipt of same. In
the event that only a portion of the documents required by this Subpoena would create an undue
burden on you, then that portion of the documents not claimed to be unduly burdensome shall be
produced.




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                               DOCUMENTS REQUESTED

    1.         All documents reflecting the terms of your engagement or employment to prepare
the Reports, including engagement letters or agreements, contracts for services, and the like.

   2.          All documents and communications reflecting the scope of work for your
preparation of the Reports.

   3.          The Reports and any other reports, consumer surveys, or                 impact
analysis/assessments prepared by you in relation to the lab-grown diamond industry.

   4.          Any communications transmitting the documents produced in response to Request
No. 3 to any person outside of Frost, such as e-mails, cover letters, or fax cover sheets.

   5.         Documents sufficient to identify the name, address, email address, and phone
number of the persons that instructed the preparation of the Reports.

   6.         Documents sufficient to identify the name, address, email address, and phone
number of any persons authorized to instruct or communicate with you regarding the Reports.

    7.          Documents, such as invoices, issued or prepared by you for payment of services
related to the preparation of the Reports.

    8.          Documents sufficient to identify the Source of Funds for payments made to you
for services related to the preparation of the Reports.




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